                       UNITED STATES DISTRICT COURT

                         DISTRICT OF SOUTH DAKOTA

                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,                          4:21-CR-40155-01-KES

                    Plaintiff,

                                             ORDER GRANTING CONTINUANCE
       vs.

ALAN SAMUEL SORTO-MUNOZ,

                    Defendant.


       Defendant, Alan Samuel Sorto-Munoz, moves for a 120-day continuance,

and plaintiff does not object. The court finds that the ends of justice served by

continuing this trial outweigh the best interests of the public and the defendant

in a speedy trial because supplemental briefing following the hearing on

defendant’s motion to dismiss was ordered and counsel needs time to prepare

that briefing and prepare any objections should the magistrate judge’s report

and recommendation not be in defendant’s favor. Based on the foregoing, it is

thus

       ORDERED that defendant's motion is granted. The following deadlines

will apply:

         Suppression/voluntariness       January 31, 2023
         motions
         Responses to motions due        Within five days after motion is
                                         filed
         Subpoenas for suppression       January 31, 2023
         hearing
        Suppression/voluntariness        If necessary, will be held prior to
        hearing before Magistrate        February 17, 2023
        Judge Veronica Duffy
        Applications for Writ of         February 28, 2023
        Habeas Corpus Ad
        Testificandum
        Other motions                    March 7, 2023
        Responses to motions due         Within five days after motion is
                                         filed
        Subpoenas for trial              March 7, 2023
        Plea agreement or petition to    March 7, 2023
        plead and statement of
        factual basis
        Notify court of status of case   March 7, 2023
        Motions in limine                March 14, 2023
        Proposed jury instructions       March 14, 2023
        due
        Jury trial                       Tuesday, March 21, 2023, at
                                         9 a.m.

      The period of delay resulting from such continuance is excluded in

computing the time within which the trial of the offense must commence. 18

U.S.C. ' 3161(h)(7)(A).

      All other provisions of the court's scheduling and case management

order remain in effect unless specifically changed herein.

      Dated November 16, 2022.

                                     BY THE COURT:


                                     /s/ Karen E. Schreier
                                     KAREN E. SCHREIER
                                     UNITED STATES DISTRICT JUDGE
